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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

                                                *
B.N.S., A MINOR CHILD BY HER PARENTS
AND NEXT FRIENDS CHRISTINE AND                  *
BRIAN STEWART,
                                                *
      PLAINTIFF,
                                                *
      v.                                              Case No. 17-cv-2670
                                                *
VICTOR BRITO, CHIEF OF POLICE,
HAGERSTOWN POLICE DEPARTMENT,                   *
ET AL.,
                                                *
       DEFENDANTS.
                           * *    *     *    *    *    *
                            APPENDIX OF EXHIBITS TO
                         DEFENDANTS’ MOTION TO DISMISS
                   OR, ALTERNATIVELY, FOR SUMMARY JUDGMENT

EXHIBIT 1: Affidavit of Police Officer Andrew Eichelberger – Dated December 20, 2017 – with
           Hagerstown Police Department – Supplement Report – Prepared by Police Officer
           Andrew Eichelberger – Dated 9/21/16 attached

EXHIBIT 2: Affidavit of Police Officer Zachary Rowe – Dated December 20, 2017 – with
           Hagerstown Police Department – Offense/Incident Report – Prepared by Police Officer
           Zachary Rowe – Dated 9/18/16; Hagerstown Police Department – Supplement Report –
           Prepared by Police Officer Zachary Rowe – Dated 9/21/16; and Hagerstown Police
           Department – Supplement Report – Prepared by Police Officer Zachary Rowe – Dated
           9/21/16 attached

EXHIBIT 3: Video from P.O. Andrew Eichelberger’s Body Camera Taken on September 18, 2016

EXHIBIT 4: Affidavit of Sergeant Casey Constable – Dated December 20, 2017 – with Hagerstown
           Police Department – Supplement Report – Prepared by Sergeant Casey Constable –
           Dated 10/25/16 attached

EXHIBIT 5: Video from P.O. Vogel’s Body Camera Taken on September 18, 2016

EXHIBIT 6: Video from Stationary Camera Outside of the East Door of the Hagerstown Police
           Department Taken on September 18, 2016



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EXHIBIT 7: Video from Stationary Camera Outside of the South Cell of the Hagerstown Police
           Department Taken on September 18, 2016

EXHIBIT 8: Video from Stationary Cameras in the Processing Area of the Hagerstown Police
           Department Taken on September 18, 2016

EXHIBIT 9: Video from Stationary Cameras at the Main Entrance / Lobby Area of the Hagerstown
           Police Department Taken on September 18, 2016

EXHIBIT 10: Hagerstown Police Department Arrest/Transport Report – Dated September 18, 2016

EXHIBIT 11: Affidavit of Lieutenant William Wright – Dated December 21, 2017




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